50 F.3d 1096
    311 U.S.App.D.C. 144, 99 Ed. Law Rep. 73
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.PHILLIPS COLLEGES, INC., Plaintiff-Appellant,v.Richard W. RILEY, Secretary of Education, in His OfficialCapacity, Defendant-Appellee.
    No. 94-5045.
    United States Court of Appeals, District of Columbia Circuit.
    March 13, 1995.
    
      Before:  WALD, RANDOLPH and ROGERS, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This cause came to be heard on appeal from a judgment of the United States District Court for the District of Columbia, and it was briefed and argued by counsel.  The issues have been accorded full consideration by the Court and occasion no need for a published opinion.  See D.C.Cir. 36(b).  It is
    
    
      2
      ORDERED and ADJUDGED that the order and judgment from which this appeal has been taken is AFFIRMED for substantially the reasons stated in the District Court's Memorandum Opinion of February 15, 1994.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after the disposition of any timely filed petition for rehearing.  See D.C.Cir. Rule 41(a).  This instruction to the Clerk is without prejudice to the right of any party at any time to move for expedited issuance of the mandate for good cause shown.
    
    